                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 THOMAS H. KRAKAUER, on behalf              )
 of a class of persons,                     )
                                            )
                      Plaintiff,            )
                                            )
               v.                           )                1:14-CV-333
                                            )
 DISH NETWORK, LLC,                         )
                                            )
                      Defendant.            )

                                       ORDER

       The plaintiff, Thomas Krakauer, asks the Court to order the Clerk to transfer some

of the judgment funds to the claims administrator, Kurtzman Carson Consulting, for

disbursement to identified class members, as previously ordered. Because there is no

reason to stay disbursement and because the defendant, DISH Network, LLC, no longer

has any interest in the judgment funds, Mr. Krakauer’s motion will be granted.

       On February 13, 2020, the Court entered its Final Disbursement Order. Doc. 560.

The order allocated judgment funds and directed the Clerk to transfer certain of those

funds to the claims administrator, who would then disburse them to class members

previously determined to be entitled to payment, hereinafter “the identified class

members.” See generally id. Dish appealed the Final Disbursement Order, Docs. 562,

563, and the Court granted Dish’s unopposed motion to stay pending the appeal pending

termination of the appeal. Doc. 568.

       On December 1, 2020, the Fourth Circuit dismissed Dish’s appeal. Doc. 596. The

Court of Appeals explained that “Dish’s interest in the ongoing claims administration




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process is contingent upon the issue—not yet resolved in the district court—of whether

any unclaimed class funds revert to Dish,” and, “[i]f not, then the errors that Dish assigns

to the claims administration process will not have caused any injury to Dish.” Id. at 2.

       The Court resolved that contingent issue while the appeal was still pending. In a

pair of orders, the Court held that reverting unclaimed funds to Dish was inappropriate

given the deterrence purpose behind the Telephone Consumer Protection Act and the

facts of the case, Doc. 590 at 10–14, and that Dish no longer had any interest in the

judgment funds. Doc. 588 at 2; see Doc. 590 at 16 (denying Dish’s motion that

unclaimed judgment funds revert). The Court otherwise held open the question of

whether such funds should escheat to the federal government or be distributed under the

cy pres doctrine. See Doc. 590 at 14–16. To assist in answering that question, the Court

appointed a special master to identify potential cy pres candidates. Doc. 594. The

special master’s work is ongoing, and the Court has yet to decide which of these two

options is a better one for the unclaimed funds. Dish did not appeal either of these orders

addressing reversion. See Doc. 602 at 3–4.

       The stay has expired, and Mr. Krakauer now asks the Court to transfer part of the

judgment funds to the claims administrator and begin the disbursement process to all

identified class members, as previously ordered almost a year ago. Dish objects and asks

the Court to renew the stay in anticipation of an appeal it plans to file at a later date,

contending that the funds should not be disbursed until after the Court decides whether cy

pres or escheat is appropriate for the unclaimed funds. See Doc. 602 at 15.



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       A stay pending appeal is “an exercise of judicial discretion, and the propriety of its

issue is dependent upon the circumstances of the particular case.” Nken v. Holder, 556

U.S. 418, 433 (2009) (cleaned up). The party requesting a stay bears the burden of

showing: (1) a likelihood of prevailing on the merits of the appeal, (2) that it will suffer

irreparable injury if the stay is denied, (3) that other parties will not be substantially

harmed by the stay, and (4) that the public interest will be served by granting the stay.

See Long v. Robinson, 432 F.2d 977, 979 (4th Cir. 1970).

       There is no good reason to stay disbursement to the thousands of identified class

members whose claims are beyond final. Dish willfully violated the TCPA when its

agent repeatedly called the phone numbers of all the class members, invading their

privacy in blatant disregard of a federal statute and a consent order with many state

attorneys general. The class members set to receive disbursements have been long

identified, the claims process is long over, the Court has repeatedly held that the

judgment funds no longer belong to Dish, and it determined over three months ago that

the unclaimed funds would not revert to Dish. Docs. 588, 590. Dish has no interest in

the funds going to the identified class members. See Doc. 596 at 2.

       The Long factors favor denial of a stay. Dish is unlikely to prevail on the merits,

even if an appeal of the Court’s decision to deny reversion could become timely. That

decision was discretionary, and no reasonable person can dispute that reverting the funds

to Dish in the face of its willful and repeated statutory violations would undermine the

deterrence goals of the TCPA. See Doc. 590 at 10. And any appellate decision on

reversion would not affect the judgment funds going to the identified class members,

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which is all that will be disbursed until the Court resolves the issue of whether the

unclaimed judgment funds will escheat or be distributed to cy pres recipients. One would

think it goes without saying that if the funds are claimed, they are not unclaimed, and

obviously claimed funds cannot revert to Dish. Dish has not shown irreparable injury.

       Further delay in disbursing funds would substantially injure class members and

would not serve the public interest. This case is almost seven years old, see Doc. 1, and

the class members have been waiting for their share of the recovery since the verdict was

entered just over four years ago. Doc. 292.

       Dish contends that a stay poses no harm to the class members because the

judgment funds are collecting interest in the Court’s registry. Doc. 602 at 8. But this

contention ignores the fact that thousands of class members have already waited years for

this judgment. The longer the Court delays in disbursing funds, the harder it will be to

locate and deliver compensation to every entitled class member, as class members move

and forwarding addresses become stale. Neither the class members nor the public interest

would be served by further delay.

       The Court, in its discretion, declines to renew the stay on disbursement. Mr.

Krakauer’s motion will be granted, and the Court will direct the Clerk to transfer

judgment funds to the claims administrator to begin the disbursement process.

       It is ORDERED:

       1. That the plaintiff’s motion for an order transferring funds to the claim

          administrator, Doc. 598, is GRANTED.



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 2. That the defendant’s motion to renew the stay of class disbursements, Doc.

    601, is DENIED.

 3. The Clerk shall disburse to Kurtzman Carson Consulting, from the judgment

    fund deposited with the Court, the sum of $30,799,312.20 within 14 days from

    the date this order is filed and KCC shall proceed with disbursements as

    previously ordered in the February 13, 2020, Final Disbursement Order at Doc.

    560.

This the 10th day of February, 2021.




                                   __________________________________
                                    UNITED STATES DISTRICT JUDGE




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